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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

         IN RE:                                               CHAPTER 11
                                                              CASE NO. 23-11069 (CTG)
         YELLOW CORPORATION, ET AL.,

                  Debtors.


              SUBSTITUTION OF COUNSEL AND NOTICE OF WITHDRAWAL OF
                                  APPEARANCE

                  Please enter the appearance of Raeann Warner of Collins Price & Warner

         and withdraw the appearance of Jacobs & Crumplar as counsel for Movant Dariun

         Wright in his petition for relief from stay. (D.I. 423).

         Dated: December 11, 2023

             JACOBS & CRUMPLAR, P.A.                 COLLINS PRICE & WARNER
             /s/ Patrick Gallagher _____________     _/s/ Raeann Warner
             Patrick Gallagher (# 5170)              Raeann Warner (# 4931)
             Thomas C. Crumplar (#942)               8 East 13th Street
             750 Shipyard Drive, Suite 200           Wilmington, DE 19801
             Wilmington, DE 19801                    (302)655-4600
             (302)656-5445                           raeann@collinslawdelaware.com
             Pat@Jcdelaw.com                         Attorney for Plaintiff
             Tom@Jcdelaw.com
             Attorney For Plaintiff




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